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                                                                                                      KL       / 103
                             IN THE UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF ARKANSAS
                                          DELTA DIVISION
RE: Elree D Ashford, Jr                                                      CASE NO:     2:21-bk-11284 J
                                                                                               Chapter 13
                                  TRUSTEE'S NOTICE OF AMENDED CLAIM

    Pursuant to an examination of the proofs of claim filed in this case, Mark T. McCarty, Chapter 13 Standing
Trustee, provides this Notice of Amended Claim filed subsequent to the date of the Summary Notice of Claims
Filed. This Notice is provided to the Debtor and the Debtor's attorney and is filed with the United States
Bankruptcy Court.

    In this Notice, the classification of the claim (e.g. priority, secured or unsecured) is listed. A non priority
claim filed that is not listed in the Debtor's bankruptcy schedules is described as "unlisted." If a creditor files a
priority claim, it is listed as priority whether or not scheduled.

Pursuant to 11 U.S.C. §§ 501 and 502 and Federal Rules of Bankruptcy Procedure 3007, a claim or interest
for which a proof of claim is filed is deemed allowed unless the Debtor or a party in interest objects to the
claim and obtains an order modifying or disallowing the claim as filed. If no order is entered which modifies or
disallows a claim, the claim as noted below will be paid as filed, subject to the terms of the confirmed plan and
the United States Bankruptcy Code.

This Notice is a summary only of the amended proof of claim filed with the United States Bankruptcy Court
and is not intended as legal advice on any issue regarding the claim, including, without limitation: (1) the
accuracy of the claim; (2) the underlying obligation; or (3) the treatment of the filed claim in the plan. Filing of
this Notice is not a waiver of the Trustee's rights to seek allowance, disallowance or determination of the
status of any claim pursuant to the Bankruptcy Code or the Federal Rules of Bankruptcy Procedure .


Date: 02/11/2022                                                                /s/ Mark T. McCarty
                                                                              Mark T. McCarty, Trustee

Name and Address of Creditor                    Original Claim Amount          Amended Claim Amount        % to Pay
United States Treasury                                $8,652.81                          $8,666.90            100.00
Centralized Insolvency Operation
P O Box 7317                                             Priority Debt (C)                 Trustee's Claim No: 5
Philadelphia, PA 19101-7317
Account: 2468
Comment: 2018-2020 INC TAX                                                         Balance Owed on claim: $0.00
cc: Mark T. McCarty, Trustee

     Matthew D Mentgen, Atty (Noticed by ECF)
     P O Box 164439
     Little Rock, AR 72216-4439
     Elree D Ashford, Jr
     P O Box 106
     Gilmore, AR 72339-0100
